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UNITED STATES DISTRICT COURT | i
SOUTHERN DISTRICT OF NEW YORK | DOCUMENT !
SHR & SIMMONS JEWLERY GROUP * /ELECTRONICAL?Y PYLER «
LLC *  Dtav Ua DOC #: 2

Plaintiff, Gra Action it 07 Civ. 4 DATE FILED: Oot ¢ 1 a7 3 1 07 2

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- agitinst- :
GOLD, LLC, : PERMANENT INJUNCTION
AND FINAL JUDGMENT
Defendants. : ON CONSENT

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Plaintiff SHR & Simmons Jewelry Group LLC and Defeadant Geld LLC hereby submit

 

this Permarient Injunction and Final Judgment on Consent.

WHEREAS, on June 7, 2007, Plaintiff, SHR & Simmons Jewelry Group, LLC
(hereinafter, “SHR”), filed its Complaint, Application for a Temporary Restraining Order,
Declaration of Scott Rauch (witb exhibits), and supporting. Memorandum of Law against
defendant, Gold, LLC (hereinafter “Gold™). fn the foregoing papers, SHR alleges ownership of
US. Design Patent No, 0543,477 (hereinafter, “the ‘477 Patent”), issued May 30,2007. SHR
further alleges that Gold has sold a bracelet, shown in Exhibit 6 of to the Rauch Declaration
(hereinafter “Style No. SB354"), that allegedly infringes the ‘477 Patent, and subsequently SHR
has alleged that Gold bas sold ariother bracelet (hereinafter “Style No. ST449”) that also
allegedly infringes the ‘477 Patent;

WHEREAS, Gold has acknowledged the sate of bracelets with Style No. $B354 and
ST449, but hus denied the sale and/or offer for sale of any bracelets with Style No. SB354 or
ST449 on or after the May 30, 2007 issuc date of the ‘477 Patent. Gold has also denied that this
Court has personal jurisdiction over it and nothing berein shall constitute an admission of
personal jurisdiction. SHR has conceded that Gold's sales of bracelets with Style No. $B354

and Style No. $T449 prior to May 30, 2007 were all non-infringing sales;
 

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WHEREAS, the parties have agreed to fully compromise and settle this controversy, and
all of the claims, disputes and causes of action, known or unknown that were or could have been
asserted against each other, and any of their officers, directors, shareholders, employees, agents,
representatives, insurers, accountants, attorneys, and their successors and assigns, and bave
exectited a Settlement Agreement, which is hereby incorporated by reference:

IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
Gold and any of its agents, employees, representatives, successors, assignees, wholly or

partially owned subsidiaries or affiliates are permanently enjoined from:
lL. Making, importing, using, selling and/or offering for sale bracelets with Style Nos.
§B354 or ST449 and any other designs which are substantielly identical thereto; and
2. Assisting, aiding, or abetting any other person OF business entity in engaging in or
performing any of the activities referred to in the above paragraph.

‘ORDERED, that this Court shall retain jurisdiction to the extent necessary to enforce this
Injunction and to determine any issues that may arise under cither.
CONSENTED TO BY PLAINTIFF: GOTTLIEB, RACKMAN & REISMAN P.C.

FF
Dated: October 12, 2007 4 La

dS. Schurin (RSO199)
‘ounse) for Plaintiff

SFFICE aD . KATZ

CONSENTED TO BY DEFENDANT:. LA

 
 
 

 

Dated: oan 2007
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Hd. Lau Laura T. Swain
United States District Judge

 
